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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 08-22855-Civ-Graham/Torres

 MORTON LUCOFF,

       Plaintiff,

 v.

 OMNI CREDIT SERVICES OF FLORIDA, INC.,

      Defendant.
 _________________________________________/

              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                            WITH PREJUDICE

       Having amicably resolved all matters in controversy and pursuant to Federal

 Rule of Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with

 prejudice.




                                        Respectfully submitted,

                                        DONALD A. YARBROUGH, ESQ.
                                        Attorney for Plaintiff
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                                        Fort Lauderdale, Florida 33339
                                        Telephone: (954) 537-2000
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                                        s/Donald A. Yarbrough
                                        Donald A. Yarbrough, Esq.
                                        Florida Bar No. 0158658
Case 1:08-cv-22855-DLG Document 3 Entered on FLSD Docket 11/21/2008 Page 2 of 2




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        Plaintiff,

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 _______________________________/

                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 21, 2008, I electronically filed the
 foregoing document with the Clerk of Court using CM/ECF. I also certify that the
 foregoing document is being served this day on all counsel of record or pro se parties
 identified on the attached Service List in the manner specified, either via transmission of
 Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
 for those counsel or parties who are not authorized to receive electronically Notices of
 Electronic Filing.



                                                  s/Donald A. Yarbrough
                                                  Donald A. Yarbrough, Esq.

                                     SERVICE LIST

 Mr. Greg J. Straub, Esq.
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 333 Bishops Way
 Brookfield, WI 53005
 Telephone: 262-784-0200
 Facsimile: 262-784-2558

 Via U.S. Mail and Facsimile
